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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                 Western District of __________
                                             __________              Texas


               WSOU INVESTMENTS, LLC                           )
                             Plaintiff                         )
                                v.                             )      Case No.     6:20-CV-456-ADA
              MICROSOFT CORPORATION                            )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          MICROSOFT CORPORATION                                                                                        .


Date:          03/19/2021                                                               /s/ Callie C. Butcher
                                                                                         Attorney’s signature


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                                   CERTIFICATE OF SERVICE

          I certify that on March 19, 2021, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which will send notification of such filing to all counsel of

record.


                                                                   /s/ Callie C. Butcher
                                                                   Callie C. Butcher
